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                                              February 6, 2024


Via ECF with Permission

The Honorable John R. Tunheim
United States District Court
300 South Fourth Street
Minneapolis, MN 55415


       Re:    Joint Letter Regarding Rud, et al. v. Johnston, et al., 23-cv-00486
              (JRT/LIB) – Transfer of Plaintiff Joshua Gardner

Dear Judge Tunheim:

       The parties write jointly to inform the Court that Plaintiff Joshua Gardner was
transferred to CPS in the normal course of waitlist movement on February 5, 2024.

Respectfully submitted,

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